






NO. 07-03-0327-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



SEPTEMBER 30, 2003



______________________________




STEVEN EUGENE PRESLEY, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 181ST DISTRICT COURT OF RANDALL COUNTY;



NO. 11,618-B; HONORABLE PATRICK A. PIRTLE, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

	Appellant pled guilty to the offense of Aggravated Sexual Assault and was
sentenced to 32 years confinement in the Texas Department of Criminal Justice
Institutional Division.  Sentence was imposed on October 20, 1997.  On July 18, 2003, a
pro se notice of appeal was filed with the trial court.  

	A defendant must file a sufficient written notice of appeal with the trial court clerk
within 30 days after the date sentence is imposed if there has not been a timely motion for
new trial filed with the court.  Tex. R. App. P. 25.2 &amp; 26.2(a)(1), (2).  The appellate court
may extend the time to file a notice of appeal if, within 15 days after the deadline for filing
the notice, the party files the notice of appeal with the trial court and files in the appellate
court a motion to extend time to file the notice of appeal.  Tex. R. App. P. 26.3 &amp; 10.5(b)(2). 
If the appeal is not timely perfected, the court does not obtain jurisdiction to address the
merits of the appeal and can take no action other than to dismiss the appeal.  See Slaton
v. State, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998).  

	As noted, appellant's sentence was imposed on October 20, 1997.  No motion for
new trial or motion for extension of time was filed, making appellant's notice of appeal due
on November 19, 1997.  Appellant's notice of appeal was filed approximately 68 months
later.  Appellant's failure to file his notice of appeal timely prevents this court from having
jurisdiction over his appeal.  

	Appellant's appeal is dismissed for want of jurisdiction. (1)

							James T. Campbell

						                 Justice



Do not publish.  

1. We note that appellant's notice of appeal states his intention to appeal to the Court
of Criminal Appeals.  Appellant may have recourse by filing a post-conviction writ of
habeas corpus returnable to the Court of Criminal Appeals for consideration of an out-of-time appeal. Tex. Crim. Proc. Code Ann. art. 11.07 (Vernon Supp. 2002).  

